         Case 22-33553 Document 1093 Filed in TXSB on 02/26/25 Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    IN RE:                                              §
                                                        §          CASE NO. 22-33553
    ALEXANDER E. JONES                                  §
                                                        §
         Debtor.                                        §          CHAPTER 7
                                                        §

                   LIMITED JOINDER TO FUAC’S EXPEDITED MOTION:
                  (I) REQUESTING LEAVE TO FILE MOTION APPROVING
                    SALE OF FSS ASSETS, AND (II) REQUESTING STATUS
                                     CONFERENCE

         WOW.AI LLC (“WOW”), by and through its undersigned counsel, hereby files this limited

joinder to the Expedited Motion Requesting Leave to File Motion Approving the Sale of FSS Assets,

and Request for Status Conference [Docket No. 1089] (the “Motion”) filed by First United

American Companies, LLC (“FUAC”), and respectfully states as follows:

                                            LIMITED JOINDER

         1.       On February 13, 2025, WOW, an AI entertainment company,1 submitted a bid to

the Chapter 7 Trustee to purchase the FSS Assets in accordance with this Court’s Order Granting

Trustee’s Motion for Entry of an Order Authorizing the Winddown of Free Speech Systems, LLC

[Docket No. 859] (the “Winddown Order”).

         2.       On February 18, 2025, FUAC filed the Motion referenced above. FUAC’s Motion

reveals that FUAC remains interested in purchasing the FSS Assets, while ostensibly also

supporting a competitive bidding process and auction that will provide an opportunity for other

interested parties, such as WOW, to participate. If such auction were scheduled, the Chapter 7



1
 WOW has no affiliation or relationship with either of the two previously disclosed bidders for the FSS Assets: FUAC,
and Global Tetrahedron, LLC/the Connecticut Families. WOW does not know of the identity of any other potentially
interested bidders at this time.
       Case 22-33553 Document 1093 Filed in TXSB on 02/26/25 Page 2 of 3




Trustee would determine the party that has offered the greatest value to this estate through such

process, subject to the Court’s approval. See Motion, at ¶ 7 (“Perhaps other parties are willing to

offer more for the Assets if given the opportunity.”).

       3.      As a bidder interested in the FSS Assets, WOW supports a transparent and

straightforward sale process pursuant to established protocols, consistent with the Winddown

Order (or newly established protocols as may be determined or required by the Court). Such a

process would allow WOW, as well as other potentially interested parties, to understand and

comply with all Court-ordered parameters of the sale. WOW supports FUAC’s Motion only to

the extent it seeks a fair, open, transparent, and competitive process. WOW suggests a process

that would allow bidders to: (i) evaluate other bids, (ii) determine whether they are able to provide

greater value to the estate through a topping bid, and (iii) submit such bids to the Trustee, together

with information supporting the value of each prospective bid.

       4.      For the reasons set forth herein, WOW respectfully requests that this Court permit

the Trustee or other appropriate party to seek approval of a process that includes appropriate and

transparent protocols for the sale of the FSS Assets, consistent with the Winddown Order, section

363 of the Bankruptcy Code, and pursuant to this Court’s supervision.



                           [Remainder of page intentionally left blank.]




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       Case 22-33553 Document 1093 Filed in TXSB on 02/26/25 Page 3 of 3




                                               Respectfully submitted,

Dated: February 26, 2025                         MCKOOL SMITH, PC

                                                 /s/ S. Margie Venus
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                                                 Counsel to WOW.AI LLC




                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District of
Texas.

                                                                 /s/ S. Margie Venus
                                                                      S. Margie Venus




                                                    3
